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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                              Case No. lO-CV-80737-HURLEYIHOPKINS
          (Consolidated with Case No. lO-CV-80738-HURLEYIHOPKINS for the Receivership)

     UNITED STATES SECURITIES AND
     EXCHANGE COMMISSION,
     Plaintiff,

     v.

     TRADE-LLC, et aI.,
     Defendants,

     V.

     BD LLC, et aI.,
     Relief Defendants.
     ----------------------------~/
     COMMODITY FUTURES TRADING
     COMMISSION,
     Plaintiff,

             v.

     TRADE-LLC, et aI.,
     Defendants,

     BD LLC, et aI.,
     Relief Defendants.
     ------------------------------~/
                          FOURTH & FINAL APPLICATION FOR
                 ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
             OF EXPENSES TO MARCUM, RECEIVER'S FORENSIC ACCOUNTANTS

             Pursuant to this Court's July 28, 2010 Agreed Order on Receiver's Motion to Employ

     Forensic" Accountants, Marcum ("Marcum") submits their Fourth & Final Application for

     allowance and payment of compensation and reimbursement of expenses for the time-period of

     Mach 1st, 2012 through the end of Receivership.



                                            MARCUM, A DIVISION OF MARCUM LLP
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                 THE RECEIVER HIRES MARCUM FOR FORENSIC ACCOUNTING

            Philip W. Milton and William H. Center raised nearly $30 million from investors. Milton

     and Center then transferred millions of dollars of investor funds to themselves, their companies,

     their wives, their children, their friends, their friends' companies, and other insiders in several

     complicated "step" transactions involving a literal maze of companies.

            Milton and Center set up an elaborate network of approximately sixty bank accounts and

     brokerage accounts at over twenty-five banks and brokerage firms to divert funds. Literally

     millions of dollars of Trade-derived funds were transferred through these various accounts since

     Trade's inception in May 2007.

            During the period from March 1, 2012 through the end of the Receivership, Marcum and

     the Receiver have agreed to a capped fee of $25,000.00 (which amount represents a more than

     25% discount below the Firm's usual billing rates) in order to perform the following tax services

     to help conclude the Receivership:


             Federal Partnership & Income Tax Return preparation for the following entities and years:
              Number ofRetums                  Entity                                     Years
                       5           Trade LLC                     2007 (Initial) - 2009, 2011-2012 (Final)
                       8           BDLLC                         2004 (Initial) - 2009,2011 - 2012 (Final)
                       3           CM] CapitoL LLC               2009 (Initial), 2011 - 2012 (Final)
                       4           TWTT-LLC                      2008 (Initial) - 2009, 2011 - 2012(Final)
                      20           Total Returns


            In addition, Marcum will prepare single-member LLC reporting to both IRS and the

     single -member, of Center Richmond, LLC.

            Finally, Marcum has already incurred time since the Third Interim Fee application in the

     preparation of IRS correspondence in response to numerous tax notices received in connection

     with the filing of the 2010 Federal partnership returns, tax research regarding the Receiver's
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     filing requirements and IRS telephone calls and correspondence in order to determine whether or

    not Federal partnership Income Tax Returns were ever filed by the five (5) entities prior to the

    Receivership. The billed time from March is included as part of the subject $25,000 fee amount.

    If Marcum does not exceed the capped amount of $25,000, Marcum shall remit any remaining

     funds to the Receiver.


                                             MEMORANDUM OF LAW

    I.      Summary of Services Rendered by Marcum

            The professional services to be rendered by Marcum are set forth and described in more

     detail in Exhibit A. The attached records show the time needed. A mere reading of the time

     summaries cannot completely reflect the full range of services rendered by Marcum, the

     complexity of the issues, and the pressures of time and performance which have been placed

     upon Marcum in connection with this case.

            Marcum has not been paid any compensation in connection with the services and

     expenses set forth herein.

     II.    Applicable Legal Standard Analysis

            In determining accountants' fees, a court must (1) determine the nature and extent of the

     services rendered; (2) determine the value of those services; and (3) consider the factors set forth

     in Johnson v. Georgia Highway Express, Inc., 488 F. 2d. 714 (5 th Cir. 1974). See Grant v.

     George Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11 th Cir. 1990) (bankruptcy fee

     award case addressing the issue of attorney's fees generally before considering specific

     requirements in the bankruptcy context).                The twelve factors set forth in Johnson, a case

     involving an award of attorneys' fees under Federal civil rights statutes, as incorporated by the

     Eleventh Circuit in Grant, a bankruptcy case, are as follows: (1) the time and labor required; (2)
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     the novelty and difficulty of the questions presented; (3) the skill required to perform the

     services properly; (4) the preclusion of other employment by the accountants due to acceptance

     of the case; (5) the customary fee for similar work in the community; (6) whether the fee is fixed

     or contingent; (7) time limitations imposed by the client or by the circumstances; (8) the amount

     involved and results obtained; (9) the experience, reputation, and ability of the accountants (10)

     the undesirability of the case; (11) the nature and length of the professional relationship with the

     client; and (12) awards in similar cases.

            A.       The Time and Labor Required

            The foregoing summary description, together with the time records attached hereto, detail

     the time, nature, and extent of the professional services to be rendered by Marcum during the

     period covered by this Application. Marcum has no doubt that the time spent is justified by the

     results that have been achieved thus far. Marcum believes they have played a significant role

     during the course of these proceedings and will continue to do so in the future.

            B.       The Novelty and Difficulty of the Questions Presented

            This case required a high level of skill to carry out Marcum's duties.

            C.        The Skill Requisite to Perform the Services Properly

            In order to perform the required services, substantial accounting skill and experience in

     the area of forensic accounting is required of Marcum who is acutely aware of the financial

     considerations arising in receiverships such as this one. Accordingly, as this Court may gather

     from Exhibit A, Marcum has very leanly staffed the administration of this case as much as

     possible, under the direction and immediate supervision of Morris Berger.

            D.       The Preclusion of Other Employment Due to This Case

            Although Marcum was not explicitly precluded as a result of this case from accepting

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     other matters, matters in this case were treated by Marcum in an expeditious and professional

     manner. Also, this case required Marcum to devote a significant amount of time during the

     period of this Application, to the preclusion of expending time on other active matters.

             E.       The Customary Fee

             The hourly rates of Marcum's professionals set forth on the attached exhibit reflect a rate

     that is considerably lower than the hourly rates billed by Marcum to clients in other cases. That is

     because Marcum views this work as being in the nature of "public service," which Marcum is

     proud and privileged to be able to do.              Similar - and higher - rates have been confirmed and

     approved in other matters in which Marcum has been involved.

             F.       Whether the Fee Is Fixed or Contingent

             The compensation of Marcum in this matter is subject to the approval of this Court, and

     Marcum has not received any compensation for their services rendered to date. The above

     factors should be taken into consideration by this Court, and the compensation should reflect the

     assumption of the risk of non-payment and delay in payment.

             G.        The Time Limitations Imposed

             This case imposed time limitations on Marcum due to the necessity for rapid resolutions

     of issues.

             H.        The Experience, Reputation, and Ability of the Professionals

             Marcum enjoys a fine reputation and has proven substantial ability in the fields of

     forensic accounting, equity receiverships, litigation, bankruptcy, creditors' rights, and business

     reorganizations.

             I.       The "Undesirability" of the Case

             This case is not undesirable, and Marcum                    IS   indeed privileged to participate in this

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    proceeding.

            J.       The Nature and Length of Professional Relationship

            Marcum has had no prior relationship with Milton, Center, or the Receivership Entities

    prior to this case.

            K.       Awards in Similar Cases

            The amounts requested by Marcum are not unreasonable in terms of awards in cases of

     similar magnitude and complexity. The compensation requested by Marcum comports with the

     mandate of applicable law, which directs that services be evaluated in light of comparable

     services performed in other cases in the community. In fact, the hourly rates requested by

     Marcum are considerably lower than the ordinary and usual hourly rates billed by Marcum to

     their ordinary clients, notwithstanding the risks associated with this case. The hourly rates are

     even lower than rates received by Marcum in other receivership cases.

            L.       The Source of Payment for the Amounts Sought Hereunder

            Marcum requests that the amounts for which payment is authorized hereunder be paid

     from funds presently held by the Receiver.




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                                                 CERTIFICATION

           Pursuant to Local Rule 7.1.A.3, the undersigned hereby certifies that the Securities and

    Exchange Commission and the Defendants have no objection to the relief requested herein.

           The undersigned also certifies that:

           a. He has read this Application;

           b. To the best of his knowledge, information and belief formed after reasonable inquiry,

              this Application and all fees and expenses therein are true and accurate, and comply

              with the Billing Instructions;

           c. All fees contained in this Application are based on the rates listed in the Exhibit

              attached hereto and such fees are reasonable, necessary and commensurate with the

              skill and experience required for the activity performed;

           d. He has not included in the amount for which reimbursement is sought the

              amortization of the cost of any investment, equipment, or capital outlay (except to the

              extent that any such amortization is included within the permitted allowable amounts

              set forth herein for photocopies and facsimile transmission); and

           e. In seeking reimbursement for a service which he justifiably purchased or contracted

              for from a third party (such as copying, imaging, bulk mail, messenger service,

              overnight courier, computerized research, or title and lien searches), he requests

              reimbursement only for the amount billed to him by the third party vendor and paid

              by him to such vendor.               He certifies that he is not making a profit on such

              reimbursable service.




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                                                       CONCLUSION

             WHEREFORE, Marcum respectfully requests that this Court enter the proposed Order,

     attached as Exhibit B, authorizing compensation to Marcum of $25,000 in fees and for any other

     relief that is just and proper.

     Dated: October 12,2012                                           Respectfully submitted,


                                                                       /s/ Morris 1. Berger
                                                                      Morris 1. Berger
                                                                      Marcum, LLP
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                                                                      Miami, FL 33131
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